Case 4:05-cr-00803-SBA   Document 58   Filed 10/03/06               Page 1 of 1




                                                          S DISTRICT
                                                        TE           C
                                                      TA
                                                                                O
                                                 S




                                                                                 U
                                                ED




                                                                                  RT




                                                                       ERED
                                            UNIT




                                                            O ORD
                                                     IT IS S
      October 3, 2006
                                                                                         R NIA




                                                                            Brazil
                                                                  ayne D.
                                            NO




                                                          Judge W
                                                                                         FO
                                             RT




                                                                                     LI




                                                     ER
                                                H




                                                                                 A




                                                          N                          C
                                                                                F
                                                              D IS T IC T O
                                                                    R
